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                          United States District Court
                                            Western District of Wisconsin
                   UNITED STATES OF AMERICA                            AM ENDED JUDGM ENT IN A CRIM INAL CASE
                                                                         (for offenses committed on or after November 1, 1987)

                                  V.                                            Case Number:            07-CR-24-C-02

                           NEKEYA L. PATTON                             Defendant's Attorney:           Erika Bierm a




The defendant, Nekeya L. Patton, pleaded guilty to count 1 of the indictm ent.

Count 4 of the indictm ent is dism issed on the m otion of the United States.

ACCORDINGLY, the court has adjudicated defendant guilty of the following offense(s):
                                                                                                  Date Offense               Count
Title & Section                        Nature of Offense                                          Concluded                Num ber(s)
18 U.S.C. § 2 and 21 U.S.C. §          Possession with Intent to Distribute Five or More          February 10, 2007            1
841(a)(1)                              Gram s of Cocaine Base (Crack Cocaine), a
                                       Schedule II controlled substance, a Class B felony


The defendant is sentenced as provided in pages 2 through 6 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin 30 days
of any change of nam e, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgm ent are fully paid. If ordered to pay restitution, the defendant shall notify the court and United
States Attorney of any material change in the defendant’s econom ic circum stances.




  Defendant's Date of Birth:              July 24, 1985                                                November 10, 2008
                                                                                                 Date of Imposition of Judgment
  Defendant's USM No.:                    06382-090

  Defendant's Residence Address:          4516 Thurston Lane, #3
                                          Fitchburg, WI 53711                                                 /s/ Barbara B. Crabb
                                                                                                        Barbara B. Crabb
  Defendant's Mailing Address:            c/o Bureau of Prisons
                                                                                                         District Judge

                                                                                                       November 12, 2008
                                                                                                           Date Signed:
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                                                 IMPRISONMENT
As to count 1 of the indictm ent, it is adjudged that defendant is com m itted to the custody of the Bureau of Prisons for
im prisonm ent for a term of 60 m onths. I recom m end that defendant be afforded the opportunity to participate in the Bureau
of Prisons’ residential substance abuse treatm ent program and psychological counseling while confined and that she be placed
in a residential re-entry center prior to release, with work release privileges.




                                                          RETURN
      I have executed this judgment as follow s:




      Defendant delivered on                                    to

at                                 , with a certified copy of this judgm ent.




                                                                                 UNITED STATES MARSHAL
                                                        By
                                                                                       Deputy Marshal
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                                            SUPERVISED RELEASE
The term of im prisonm ent is to be followed by a four-year term of supervised release.

Defendant shall report to the probation office in the district to which defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

Defendant shall not com m it another federal, state, or local crim e.

Defendant shall not illegally possess a controlled substance.

If defendant has been convicted of a felony, defendant shall not possess a firearm , destructive device, or other dangerous
weapon while on supervised release.

Defendant shall cooperate with the collection of DNA by the U.S. Justice Departm ent and/or the U.S. Probation and Pretrial
Services Office as required by Public Law 108-405.

If this judgm ent im poses a fine or a restitution obligation, it shall be a condition of supervised release that defendant pay any
such fine or restitution that rem ains unpaid at the com m encem ent of the term of supervised release in accordance with the
Schedule of Paym ents set forth in the Financial Penalties sheet of this judgm ent.

Defendant shall com ply with the standard conditions that have been adopted by this court (set forth on the next page).

In light of the nature and characteristics of the crim e and her im pulsivity and drug abuse, the following special conditions of
supervised release are appropriate. Defendant is to:

(1)   Provide the supervising U.S. probation officer any and all requested financial inform ation;

(2)   Register with local law enforcem ent agencies and the state attorney general as directed by the supervising U.S. probation
      officer;

(3)   Subm it her person, residence, office, or vehicle to a search conducted by a U.S. probation officer at a reasonable tim e
      and in a reasonable m anner whenever the officer has reasonable suspicion of contraband or evidence of a violation of
      a condition of release; failure to subm it to a search m ay be a ground for revocation; defendant shall warn any other
      residents that the prem ises m ay be subject to searches pursuant to this condition;

(4)   Abstain from the use of alcohol, from the use of illegal drugs and from association with drug users and sellers and
      participate in substance abuse treatm ent. Defendant shall subm it to drug testing beginning within 15 days of release and
      60 drug tests annually thereafter. The probation office m ay utilize the Adm inistrative Office of the U.S. Courts’ phased
      collection process; and

(5)   Participate in m ental health counseling or treatm ent, as approved and directed by the supervising probation officer.
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                                  STANDARD CONDITIONS OF SUPERVISION
    1)   Defendant shall not leave the judicial district without the perm ission of the court or probation officer;

    2)   Defendant shall report to the probation officer as directed by the court or probation officer and shall subm it a
         truthful and com plete written report within the first five days of each m onth;

    3)   Defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

    4)   Defendant shall support his or her dependents and m eet other fam ily responsibilities;

    5)   Defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

    6)   Defendant shall notify the probation officer at least ten days prior to any change in residence or em ploym ent;

    7)   Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or
         adm inister any narcotic or other controlled substance, or any paraphernalia related to such substances except as
         prescribed by a physician;

    8)   Defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         adm inistered;

    9)   Defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any
         person convicted of a felony unless granted perm ission to do so by the probation officer;

  10)    Defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it
         confiscation of any contraband observed in plain view by the probation officer;

  11)    Defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcem ent officer;

  12)    Defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent
         agency without the perm ission of the court;

  13)    As directed by the probation officer, defendant shall notify third parties of risks that m ay be occasioned by
         defendant's crim inal record or personal history or characteristics, and shall perm it the probation officer to m ake
         such notifications and to confirm defendant's com pliance with such notification requirem ent.
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                                    CRIMINAL MONETARY PENALTIES

                           Count     Assessment              Fine                  Restitution

                              1      $100.00                 $0.00                 $0.00

                            Total    $100.00                 $0.00                 $0.00



It is adjudged that defendant is to pay a $100 crim inal assessm ent penalty to the Clerk of Court for the W estern District of
W isconsin im m ediately following sentencing.

Defendant does not have the m eans or earning potential to pay a fine under § 5E1.2(c) without im pairing her ability to support
herself and her m inor son upon release.
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                                          SCHEDULE OF PAYMENTS
Paym ents shall be applied in the following order:
                                                         (1) assessm ent;
                                                         (2) restitution;
                                                         (3) fine principal;
                                                         (4) cost of prosecution;
                                                         (5) interest;
                                                         (6) penalties.


The total fine and other m onetary penalties shall be due in full im m ediately unless otherwise stated elsewhere.




Unless the court has expressly ordered otherwise in the special instructions above, if the judgm ent im poses a period of
im prisonm ent, paym ent of m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary penalties,
except those paym ents m ade through the Federal Bureau of Prisons’ Inm ate Financial Responsibility Program , are m ade to
the clerk of court, unless otherwise directed by the court, the probation officer, or the United States Attorney.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.

In the event of a civil settlem ent between victim and defendant, defendant m ust provide evidence of such paym ents or
settlem ent to the Court, U.S. Probation office, and U.S. Attorney’s office so that defendant’s account can be credited.
